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				REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2016 OK 49Decided: 05/02/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 49, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



&nbsp;




ORDER


On February 15, 2016, this Court suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2015 and/or with the annual certificate renewal requirements for 2016. See 2016 OK 21 (SCAD 2016-13).

The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the certificate of each of these reporters, effective April 15, 2016, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23.

IT IS THEREFORE ORDERED that the certificate of each of the certified shorthand reporters named below is hereby revoked effective April 15, 2016.


	
		
			
			
			
			Christina Ogle
			
			
			
			
			CSR # 1088
			
		
		
			
			
			
			Norma Rico
			
			
			
			
			CSR # 1992
			
		
		
			
			
			
			Lisa Stockwell
			
			
			
			
			CSR # 1969
			
		
		
			
			
			
			Nikki Tate
			
			
			
			
			CSR # 1608
			
		
		
			
			
			
			Amy Taylor
			
			
			
			
			CSR # 1993
			
		
	


DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2nd day of MAY, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2016 OK 21, SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERSCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
